                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

  UNITED STATES OF AMERICA                       )
                                                 ) Case No. 1:21-cr-071-01
  v.                                             )
                                                 ) Judge Travis R. McDonough
  DEQUAN MALIK GREEN                             )
                                                 ) Magistrate Judge Susan K. Lee
                                                 )


                                             ORDER



          Magistrate Judge Susan K. Lee filed a report and recommendation recommending that

 the Court: (1) accept Defendant’s plea of guilty to Count One of the one-count Bill of

 Information; (2) adjudicate the Defendant guilty of the charges set forth in Count One of the Bill

 of Information; (3) defer a decision on whether to accept the plea agreement until sentencing;

 and (4) find Defendant shall remain in custody until sentencing in this matter (Doc. 12).

 Neither party filed a timely objection to the report and recommendation. After reviewing the

 record, the Court agrees with Magistrate Judge Lee’s report and recommendation. Accordingly,

 the Court ACCEPTS and ADOPTS the magistrate judge’s report and recommendation (Doc.

 INSERT) pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

       1. Defendant’s plea of guilty to Count One of the Bill of Information is ACCEPTED;

       2. Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the Bill

          of Information;

       3. A decision on whether to accept the plea agreement is DEFERRED until sentencing; and

       4. Defendant SHALL REMAIN in custody until sentencing in this matter which is

          scheduled to take place on January 14, 2022 at 2:00 p.m. before the undersigned.



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      SO ORDERED.

                                    /s/ Travis R. McDonough
                                    TRAVIS R. MCDONOUGH
                                    UNITED STATES DISTRICT JUDGE




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